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                       IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE EASTERN DISTRICT OF LOUISIANA

   IN RE:                              )                Chapter 7
                                       )
   REILLY-BENTON COMPANY, INC.         )                Case No. 17-12870
                                       )
   DEBTORS                             )                Section A
   ____________________________________)


       MEMORANDUM IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT
     THAT THE PROCEEDS OF THE INSURANCE POLICIES ISSUED BY LIBERTY
   MUTUAL INSURANCE COMPANY AND EMPLOYER’S MUTUAL FIRE INSURANCE
   COMPANY TO REILLY-BENTON COMPANY, INC. COVERING REILLY-BENTON
    COMPANY, INC.’S CONTRACTING ACTIVITIES ARE NOT PROPERTY OF THE
    ESTATE AND MOTION FOR SUMMARY JUDGMENT THAT THE AUTOMATIC
    STAY DOES NOT APPLY TO LIBERTY MUTUAL INSURANCE COMPANY AND
              EMPLOYER’S MUTUAL FIRE INSURANCE COMPANY


   MAY IT PLEASE THE COURT:

          The Roussel & Clement Creditors1 move for summary judgment that the insurance proceeds

   from the insurance policies issued by Liberty Mutual Insurance Company (“Liberty Mutual”) and

   Employer’s Mutual Fire Insurance Company (“Wausau”) covering the contracting activities of

   Reilly-Benton Company, Inc. (“Reilly-Benton”) are not property of the bankruptcy estate of Reilly-

   Benton. The Roussel & Clement Creditors also move for summary judgment that the automatic stay

   does not apply to Liberty Mutual and Wausau.




          1
           The firm of Roussel & Clement represents claimants who have filed claims against
   Reilly-Benton Company, Inc., including Frank James Brazan, Pennie Ann Brazan Kliebert,
   Shane Anthony Brazan, Jason Joseph Brazan, and Carmel Theresa Brazan Bourg, Mary Patsy
   Soileau Courville, Mavis Todd Courville, Michael Wade Courville, and Joseph Eric Courville,
   Joseph Alfred Hedges, Jr. and Renee Hedges Blum, and Bonnie Ann Tregre Loupe, Lee Ann
   Tregre Cortez, and Sherry Tregre Cortez..

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   I.        Insurance Proceeds from the Insurance Policies Issued by Liberty Mutual and Wausau
             Covering the Contracting Activities of Reilly-Benton Are Not Property of the
             Bankruptcy Estate of Reilly-Benton.

             In the U.S. Fifth Circuit, ordinarily the proceeds from insurance policies are not estate

   property.2 In Matter of Edgeworth, 993 F.2d 51, 53 (5th Cir. 1993), the debtor argued that insurance

   proceeds sought by a medical malpractice victim were part of the bankruptcy estate and could not

   be recovered following a discharge in bankruptcy. In rejecting this argument, the Fifth Circuit stated,

   “The question is not who owns the policies, but who owns the liability proceeds.”3 The Fifth Circuit

   has explained that:

             The overriding question when determining whether insurance proceeds are property
             of the estate is whether the debtor would have a right to receive and keep those
             proceeds when the insurer paid on a claim. When a payment by the insurer cannot
             inure to the debtor's pecuniary benefit, then that payment should neither enhance nor
             decrease the bankruptcy estate. In other words, when the debtor has no legally
             cognizable claim to the insurance proceeds, those proceeds are not property of the
             estate.4




             2
              In re Louisiana World Exposition, Inc., 832 F.2d 1391, 1399 (5th Cir. 1987)
   (distinguishing between policies, which often belong to the estate, and proceeds, which generally
   do not); Matter of Edgeworth, 993 F.2d 51, 53, 56 (5th Cir. 1993) (The court noted: “When a
   payment by the insurer cannot inure to the debtor’s pecuniary benefit, then that payment should
   neither enhance nor decrease the bankruptcy estate. In other words, when the debtor has no
   legally cognizable claim to the insurance proceeds, those proceeds are not property of the
   estate.”); Sosebee v. Steadfast Ins. Co., 701 F.3d 1012, 1023 (5th Cir. 2012); see also Landry v.
   Exxon Pipeline Co., 260 B.R. 769, 786 (Bankr. M.D. La. 2001); St. Paul v. Home Depot, 2004
   WL 2075129, at *2 (N.D. Ill. 2004) (explaining that an additional insureds rights under an
   insurance policy are not property of the estate and “[s]ection 105 does not provide authority to
   order a third party’s contract right with another third party to be transferred to the estate for the
   benefit of the debtor’s creditors”).
             3
                 Id. at 55 (citing In re Louisiana World Exposition Inc., 832 F.2d 1391, 1399 (5th Cir.
   1987)).
             4
                 Id. at 55-56.

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           The Fifth Circuit identified insurance policies whose proceeds are property of the estate as

   those including “casualty, collision, life, and fire insurance policies in which the debtor is a

   beneficiary.”5 The Fifth Circuit has further stated that “under the typical liability policy, the debtor

   will not have a cognizable interest in the proceeds of the policy.”6

           The insurance policies issued to Reilly-Benton by Liberty Mutual and Wausau covering the

   contracting activities of Reilly-Benton cannot be considered property of Reilly-Benton’s bankruptcy

   estate because they have no limits as to injured tort victims.7 In Courville v. Lamorak Ins. Co., 2020-

   0073 (La.App. 4 Cir. 05/27/20), 301 So.3d 557, 560, writ denied, 20-791 (La. 10/14/20), 302 So.3d

   1121, the Louisiana Fourth Circuit Court of Appeal held that “a CGL insurer that provided unlimited

   coverage under a policy of insurance is barred from any post-injury settlement limiting that liability.”

   Moreover, as to Reilly-Benton itself, these policies are exhausted due to contracts between Reilly-

   Benton and Liberty Mutual and Wausau. Thus, Reilly-Benton has no cognizable interest in the

   proceeds of the policies.

           Liberty Mutual’s CGL policy language reveals that, during the time period it insured Reilly-

   Benton, the aggregate policy limits only applied to “damages arising out of the products hazard.”8

   Of note, the Liberty Mutual policy form was revised in 1962; however, there was no change to the

   language regarding aggregate policy limits.9 As can be seen from the Liberty Mutual policy language,


           5
               Id. at 56.
           6
               Id. at 56.
           7
           Courville v. Lamorak Ins. Co., 2020-0073 (La.App. 4 Cir. 05/27/20), 301 So.3d 557,
   560, writ denied, 20-791 (La. 10/14/20), 302 So.3d 1121.
          8
           Exhibit 1, Affidavit of Robert Hughes at Sub-Exhibit C, Liberty Mutual CGL Policy
   Form - 1958, at p. 3, Section 5.
          9
           Exhibit 1, Affidavit of Robert Hughes at Sub-Exhibit D, Liberty Mutual CGL Policy
   Form - 1962, at p. 3, Section 5.

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   Coverage A was the section of the insuring agreement that applied to bodily injury claims.10

   However, the Limits of Liability Section of the standard policy forms for 1958 and 1962 made clear

   that the aggregate policy limits only applied to sale of products, not contracting activities.

           LIMITS OF LIABILITY-Products. Subject to the limit of liability with respect to
           “each accident”, the limits of bodily injury and property damage LIABILITY stated
           in the declarations as “aggregate products are respectively the total limits of the
           company’s liability for all damages arising out of the products hazard.11

   The policy further defines a “product hazard” which reduced policy limits as those where “the

   accident occurs after possession of such goods or products has been relinquished to others by the

   named insured.”12 This is the only situation for which aggregate policy limits may arguably apply.

           The Liberty Mutual CGL policy language was again revised in 1966. This time the language

   of the limits of liability section was revised, but the language still made clear that the aggregate

   policy limits did not apply to contracting activities. The 1966 policy language stated as follows:

           Subject to the above provisions respecting “each person” and “each occurrence”, the
           total liability of the company for all damages because of (1) all bodily injury included
           within the completed operations hazard and (2) all bodily injury included witin the
           products hazard shall not exceed the limit of bodily injury liability stated in the
           declarations as “aggregate”.13

           In 1966, the aggregate limits applied to bodily injury falling within the products hazard

   provision and completed operations hazard provision. Both the products hazard and completed

   operations hazard apply to bodily injury occurring after either the products have left the insured’s

   control or after the insured finished the operation.14 Obviously, where the insured (i.e. Reilly-Benton)
           10
                Id. at p. 1.
           11
                Id. at p. 3, Section 5. (Emphasis added).
           12
                Id. at p. 3, Section(c).
           13
            Exhibit 1, Affidavit of Robert Hughes at Sub-Exhibit E, Liberty Mutual 1966 CGL
   Policy Form, at p. 2, Section IV).
           14
                Id. at p. 3, Definitions.

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   is exposing the injured party during the operation and the bodily injury occurs during the operation,

   the aggregate limits do not apply. The Louisiana Supreme Court has made clear that bodily injury

   which triggers coverage is the exposure to the harmful substances causing injury.15

          Furthermore, the “Limits of Liability” section of the Wausau policy provides as follows:

          b.         Subject to the above provision respecting “each occurrence”, the total liability
                     of the Company for all damages because of all bodily injury and property
                     damage which occurs during each annual period while this policy is in force
                     commencing from its effective date and is described in any of the numbered
                     subparagraphs below shall not exceed the limit of liability stated in the
                     Declarations as “aggregate”:
                     ...
                     (3) all bodily injury and property damage included within the completed
                     operations hazard and all bodily injury and property damage included
                     within the products hazard.”16

  However, no where in Wausau’s policy does it define “completed operations hazard” or “products

  hazard.” The fact that the policy does not define these terms renders the policy ambiguous at best,

  which ambiguities are to be construed against the insurance company. 17

         Under Louisiana law, an insurance policy is the law between the parties, and the agreement

  governs the nature of their relationship.18 The extent of coverage is determined by the words of the

  insurance policy.19 The purpose of liability insurance is to afford protection from damage claims.

  Insurance contracts, therefore, should be interpreted to effect, not deny, coverage.”20 As recognized

  by the Louisiana Supreme Court, “[t]he ambiguous contractual provision is to be construed


          15
               Cole v. Celotex, 599 So.2d 1058, 1072 (La. 1992).
          16
               Exhibit 2, Wausau Policy, at Bates Page Wausau 0021.
          17
               Peterson v. Schimek, 98-1712 (La. 3/2/99), 729 So.2d 1024, 1029.
          18
               Id. at 1028.
          19
               Id.
          20
               Id.

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  against the insurer who furnished the policy’s text and in favor of the insured finding

  coverage.”21 Because the purpose of liability insurance is to afford protection from damage claims,

  "policies should be construed to effect, not deny, coverage."22 "And an exclusion from coverage

  should be narrowly construed."

          Of note, in the case of Courville v. Lamorak Ins. Co.,23 Wausau did not dispute that its policy

  is ambiguous, and instead attempted to rely upon an “Agreement for Defense and Indemnification of

  Asbestos Bodily Injury Suits” with Reilly-Benton as its support for how the policy should be

  interpreted. Similarly, Liberty Mutual argued that a Defense and Indemnity Agreement between

  Reilly-Benton and Liberty Mutual limited its liability in regards to Reilly-Benton’s contracting

  activities.24 Louisiana’s Fourth Circuit rejected the arguments of Liberty Mutual and Wausau holding

  that it was inappropriate under Louisiana law to hold a settlement between Liberty Mutual Insurance

  Company, Wausau, and Reilly-Benton Company, Inc., binding against injured victims who were not

  parties to the settlement.25 Thus, the issue of whether Liberty Mutual and/or Wausau can limit their

  liabilities in regards to Reilly-Benton’s contracting activities has already been decided. The Fifth

  Circuit has explained that res judicata is appropriate if: 1) the parties to both actions are identical (or

  at least in privity); 2) the judgment in the first action is rendered by a court of competent jurisdiction;

  3) the first action concluded with a final judgment on the merits; and 4) the same claim or cause of

           21
                Id. at 1029.
           22
                Breland v. Schilling, 550 So.2d 609, 610 (La. 1989).
           23
            Courville v. Lamorak Ins. Co., 2020-0073 (La.App. 4 Cir. 05/27/20), 301 So.3d 557,
   writ denied, 20-791 (La. 10/14/20), 302 So.3d 1121.
           24
              Id. (Where Louisiana’s Fourth Circuit held “[A] CGL insurer that provided unlimited
   coverage under a policy of insurance is barred from any post-injury settlement limiting that
   liability.”).
           25
                Id.

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  action is involved in both suits.26 Accordingly, Louisiana plaintiffs such as the Roussel & Clement

  Creditors can proceed against Liberty Mutual and Wausau regarding Reilly-Benton’s contracting

  activities.

          The decision in Courville v. Lamorak Ins. Co. as to Liberty Mutual and Wausau27 is in accord

  with other decisions by the Louisiana Fourth Circuit and the Louisiana Supreme Court.28 It is also

  in accord with La. R.S. 22:1262, which states:

           No insurance contract insuring against loss or damage through legal liability for the
           bodily injury or death by accident of any individual, or for damage to the property of
           any person, shall be retroactively annulled by an agreement between the insurer and
           insured after the occurrence of any such injury, death, or damage for which the
           insured may be liable, and any such annulment attempted shall be null and void.

  “The plain language of La. R.S. 22:1262 prohibits insurers and insureds from retroactively rescinding

  or annulling policy contracts by agreement post-occurrence.”29 The purpose of this statute “is to

  prevent insurers and insureds from agreeing to annul or rescind contracts to the detriment of an

  injured third party.”30

          Moreover, Reilly-Benton’s estate is not entitled to any proceeds from the policies of Liberty

  Mutual or Wausau as the contracts that they entered are binding as to Reilly-Benton, but are not

  binding as to injured victims. Neither Liberty Mutual nor Wausau dispute that their policies have

  already been exhausted with regard to Reilly-Benton itself pursuant to contracts they entered into with


           26
                See, United States v. Shanbaum, 10 F.3d 305, 310 (5th Cir. 1994).
           27
            Courville v. Lamorak Ins. Co., 2020-0073 (La.App. 4 Cir. 05/27/20), 301 So.3d 557,
   writ denied, 20-791 (La. 10/14/20), 302 So.3d 1121.
           28
             Washington v. Savoie, 634 So.2d 1176 (La. 1994); Long v. Eagle, Inc., 14-889 (La. App.
   4 Cir. 2/25/15), 158 So.3d 968.
           29
           Long v. Eagle, Inc., 14-889 (La. App. 4 Cir. 2/25/15), 158 So.3d 968, 971, writ denied,
   15-811 (La. 6/19/15), 172 So.3d 652.
           30
                Id. at 971-972.

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  Reilly-Benton. Such contracts are not binding as to injured tort victims. In Courville v. Lamorak Ins.

  Co., Liberty Mutual submitted an affidavit of Fred Wiedmann, Vice President of Direct Claims at

  Resolute Management, Inc. a third party-agent for Liberty Mutual Insurance Company in connection

  with Reilly-Benton’s asbestos claims, setting forth that any coverage obligation owed to Reilly-

  Benton had been exhausted and extinguished.31 Similarly Wausau submitted an affidavit of Renee

  Butalla, an Asbestos Claims Specialist III for Nationwide Indemnity Company, an authorized agent

  of Wausau, setting forth that the aggregate limits of Wausa’s policies have been reached, and that

  Wasuau’s liability coverage has been exhausted and extinguished.32 Accordingly, the proceeds of the

  insurance policies issued by Liberty Mutual and Wausau to Reilly-Benton cannot be part of Reilly-

  Benton’s bankruptcy estate, because those policies have already been exhausted as to Reilly-Benton

  in accordance with the agreements between Reilly-Benton and its insurers.

         On the other hand, third party tort victims such as the Roussel & Clement Creditors may

  nevertheless reach the insurance proceeds, while Reilly-Benton cannot, as Louisiana’s Fourth Circuit

  has already held that it is inappropriate under Louisiana law to hold a settlement between Liberty

  Mutual/Wausau and Reilly-Benton binding against injured victims who were not parties to the

  settlement.33

  II.    The Automatic Stay Does Not Apply to Liberty Mutual and Wausau.

          Courts have routinely recognized that the automatic stay does not apply to the insurers of a

  company that has filed for bankruptcy, such as Liberty Mutual and Wausau in the case at bar. For

  example, Judge Jerry A. Brown in the case of “In Re Eagle, Inc., Bankruptcy No. 15-12437, denied
          31
             Exhibit 3, under seal, Affidavit of Fred Wiedmann.
          32
             Exhibit 4, under seal, Affidavit of Renee Butalla.
          33
             Courville v. Lamorak Ins. Co., 2020-0073 (La.App. 4 Cir. 05/27/20), 301 So.3d 557,
   writ denied, 20-791 (La. 10/14/20), 302 So.3d 1121.

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  a “Motion for Order Extending or Applying the Automatic Stay to Certain Settling Insurers” filed by

  the Debtor and similarly situated insurers.34 The Eagle bankruptcy was a Chapter 11 bankruptcy, and

  the Debtor and insurers argued that the insurance proceeds were property of the bankruptcy estate.

  Judge Brown rejected the arguments of the Debtor and insurers and denied their motion. The case at

  bar is a Chapter 7 bankruptcy, which is even more reason to hold that the automatic stay does not

  apply to Liberty Mutual and Wausau.

          Louisiana law allows tort victims to pursue insurers regardless of the bankruptcy or insolvency

  of the insured. Creditors submit that tort claimants cannot be constitutionally divested of these rights,

  which are protected by the due process clause. The Louisiana Direct Action Statute specifically allows

  for claimants to proceed against insurers where the insured is bankrupt or insolvent.35 The fact that

  Reilly-Benton has filed for bankruptcy does not affect a tort claimants ability to proceed against the

  insurers. In fact, La. R.S. 22:1269 specifically provides that “[n]o policy or contract of liability

  insurance shall be issued or delivered in this state, unless it contains provisions to the effect that

  the insolvency or bankruptcy of the insured shall not release the insurer from payment of

  damages . . . .” Also, the Louisiana Direct Action Statute provides that “all liability policies within

  their terms and limits are executed for the benefit of all injured persons and their survivors or heirs

  to whom the insured is liable....” La. R.S. 22:1269(B)(1) states that tortfeasors shall have a right of

  direct action against the insurer when the following occurs:

          (a)     The insured has been adjudged bankrupt by a court of competent jurisdiction
          or when proceedings to adjudge an insured bankrupt have been commenced before a
          court of competent jurisdiction.


           34
              Exhibit 5, Order Denying Motion for Order Extending or Applying the Automatic Stay
   to Certain Settling Insurers.
           35
              La. R.S. 22:1269(B)(1)(a) and La. R.S. 22:1269(B)(1)(b)

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         (b)     The insured is insolvent.

  Clearly, tortfeasors have a right to proceed against Reilly-Benton’s insurers, including Liberty Mutual

  and Wausau. In fact, under Louisiana law, for exposures occurring prior to 1989, injured parties have

  an unqualified right to pursue their claims against the insurers without having to fit the claim within

  the enumerated reasons set forth in La. R.S. 22:1269.36 It is well-settled in Louisiana law that “[o]nce

  a party’s cause of action accrues, it becomes a vested property right that may not be constitutionally

  divested.”37 A state tort claim is protected by the due process clause.38 That Louisiana claimants may

  proceed against the insurer of a bankrupt insured reflects the fact that under Louisiana law injured

  parties have a substantive right to sue the insurance company on a tortfeasors’ insurance policy as a

  third party beneficiary to the insurance contract.39

         WHEREFORE, the Roussel & Clement Creditors pray that the Court grant their Motion for

  Summary Judgment that the Proceeds of the Insurance Policies Issued by Liberty Mutual Insurance

  Company and Employer’s Mutual Fire Insurance Company to Reilly-Benton Company, Inc. Covering

  Reilly-Renton Company, Inc.’s Contracting Activities Are Not Property of the Estate and their




   36
       Marchand v. Asbestos Defendants, 10-1650 (La. App. 4 Cir. 7/21/10); 44 So.3d 355, 358;
   Foltmer v. James, 01-1510 (La. App. 4 Cir. 9/12/01); 799 So. 2d 545; Marchel v. Delta
   Shipbuilding Co., 10-168 (La. App. 4 Cir. 84/10); 345 So.3d 634.
   37
       Austin v. Abney Mills, 01-1598 (La. 9/4/02); 824 So.2d 1137, 1145 (citing Cole v. Celotex, 599
   So.2d 1058, 1063 (La. 1992)).
   38
      Id. at 1145.
   39
       Leviere v. Williams, 2002-1816 (La.App. 4 Cir. 1/17/03), 844 So.2d 32, 36, writ denied, 2003-
   1149 (La. 6/20/03), 847 So.2d 1236; see also Sturcke v. Clark, 261 So.2d 717 (La.App. 4 Cir.
   1971), writ denied, 263 So.2d 46-47, 49 (La. 1972).

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  Motion for Summary Judgment That the Automatic Stay Does Not Apply to Liberty Mutual Insurance

  Company and Employer’s Mutual Fire Insurance Company.

        CERTIFICATE OF SERVICE                                 Respectfully submitted,

          I HEREBY CERTIFY on the 26th                         ROUSSEL & CLEMENT
  day of July, 2022, the foregoing pleading was
  filed electronically with the Clerk of Court
  using the CM/ECF system. Notice of this                      S/Jonathan B. Clement
  filing will be sent to all parties participating in          GEROLYN P. ROUSSEL - 1134
  the Court’s CM/ECF Filing System.                            PERRY J. ROUSSEL, JR. - 20351
                                                               JONATHAN B. CLEMENT - 30444
             S/Jonathan B. Clement                             LAUREN R. CLEMENT - 31106
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